         CaseOrder
SAO 247 (0208) 8:03-cr-00288-SDM-AEP                Document 661
                   Regarding Motion for Sentence Reduction              Filed 07/03/08 Page 1 of 1 PageID 2752

                                           UNITED STATES DISTRICT COURT
                                                                for the
                                                        Middle District of Florida
              UNITED STATES OF AMERICA

                                v.                                  Case No:          8:03-cr-288-T-23MAP
                                                                    USM NO:           41286-01 8
                       ROBERT DUNN

Date Previous Judgment Signed: April 6, 2004                        Defendant's Attorney: Tracy Dreispul, AFPD


             Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. 5 3582(c)(2)

The defendant moved pro se (Doc. 645) under 18 U.S.C. 5 3582(c)(2) for a reduction of the term of imprisonment
imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive by the
United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), after which the Federal Public Defender was
appointed to represent the defendant. The United States and the defendant stipulate (Doc. 659) to the application of
the retroactive amendment and to a reduction of sentence of seventeen months or to time served, whichever is
greater. Having considered the motion and the stipulation,

IT IS ORDERED that the motion is:
0      DENIED.
$1       GRANTED and the defendant's previously imposed term of imprisonment IS REDUCED TO SEVENTY
         MONTHS OR TIME SERVED PLUS TEN DAYS, WHICHEVER IS GREATER.

I.   COURT DETERMINATION OF GUIDELINE RANGE (prior to any departures)
Previous Offense Level:                   -
                                          35                        Amended Offense Level:                       33
Criminal History Category:                II
                                          -                         Criminal History Category:               II
                                                                                                             -
Previous Guideline Range:                  188 to 235 months        Amended Guideline Range:                     151 to 188 months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
         The reduced sentence is within the amended guideline range.
$I       The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at
         the time of sentencing as a result of a departure and a Rule 35 reduction, and the reduced sentence is
         comparably less than the amended guideline range.
0        Other (explain):

Ill. ADDITIONAL COMMENTS

Except as provided above, all provisions of the April 6, 2004, judgment shall remain in effect.

ORDERED in Tampa, Florida, on                                                                            ,2008.



Effective Date:                                                               STEVEN D. MERRYDAY
                (if different from order date)                            UNITED STATES DISTRICT JUDGE
